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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

 GREGORY GIBBS, TATONYA
 HUGGINS, LINDA BURNS and
 ANDREA HELM, on behalf of
 himself and those similarly
 situated

             Plaintiffs,

 v.                                               Case No: 2:18-cv-434-FtM-38MRM

 MLK EXPRESS SERVICES,
 LLC, AMAZON LOGISTICS,
 INC., AMAZON.COM
 SERVICES, INC., MANIHONG
 M. PHANOUVONG, LILA V.
 PHANOUVONG,
 AMAZON.COM, INC. and AG
 PLUS EXPRESS, LLC,

               Defendants.
                                           /

                                         ORDER1

        Before the Court are the parties’ responses (Docs. 212; 213; 214) to the

 Court’s Order to Show Cause (Doc. 211). The Court’s Order was in response to

 Defendants Manihong and Lila Phanouvong’s Notice of Suggestion of Pending

 Bankruptcy and Automatic Stay of Proceedings (Doc. 210).                        Due to a



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 bankruptcy filing, the Phanouvong’s suggest the automatic stay applies to

 them only. See 11 U.S.C. § 362(a). No party opposes that currently. And the

 parties all agree that this case should proceed as to the other nondebtor

 Defendants.   Thus, apart from recognizing the automatic stay as to the

 Phanouvong’s only, the Court will take no further action at this time. While

 Plaintiffs might seek relief from the automatic stay or discovery from the

 Phanouvong’s in the future, the Court will handle those matters as they arise.

       Accordingly, it is now

       ORDERED:

       This case is STAYED as to the Phanouvong’s only. The case is

 ongoing as to all other Defendants. The Phanouvong’s must notify the Court,

 in writing, within seven (7) days of the bankruptcy proceedings concluding.

       DONE and ORDERED in Fort Myers, Florida on January 12, 2021.




 Copies: All Parties of Record




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